        Case 4:19-cv-00354-JM Document 15 Filed 07/11/19 Page 1 of 1




           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    WESTERN DIVISION

KATHLEEN TORRENCE                                                PLAINTIFF

v.                         No. 4:19-cv-354-DPM

AUTOMOBILE CLUB
INTER-INSURANCE EXCHANGE                                        DEFENDANT

                                ORDER
     This case is one of five recently filed matters*raising substantially
similar issues. The parties differ; there's overlap among counsel. To
achieve consistency in rulings, and conserve judicial resources, this case
is transferred to the Honorable James M. Moody Jr., who was randomly
assigned the first filed of these cases. Any objection to transfer should
be made by 19 July 2019, and Judge Moody will address it. The Court
directs the Clerk to make the transfer by chip exchange.
      So Ordered.

                                                            v
                                  D.P. Marshall Jr.
                                  United States District Judge
                                      /I   .:rv..t,   f)..019




* DuPriest et al. v. Allstate Insurance Company, No. 4:19-cv-230-JM; Bray
v. Esurance Property & Casualty Insurance Company, No. 4:19-cv-457-JM;
Armstead v . Farmers Insurance Company, Inc., No. 4:19-cv-458-BRW;
Beth v. Trumbull Insurance Company, No. 4:19-cv-459-BRW.
